                            4:20-cr-40026-JES-JEH # 105                  Page 1 of 4
                                                                                                                       E-FILED
                                                                               Friday, 10 September, 2021 02:00:25 PM
                                                                                           Clerk, U.S. District Court, ILCD

                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA,                            )
                                                     )
                          Plaintiff,                 )
                                                     )
                 v.                                  )        Case No. 4:20-cr-40026-JES-JEH-1
                                                     )
ANTHONY TONY GAY,                                    )
                                                     )
                          Defendant.                 )

                                                     ORDER

        In a number of recent hearings regarding this case, attorneys that represent Anthony Gay

in a civil case 1 pending in the Central District of Illinois have accompanied Mr. Gay in the

courtroom. During the 8/18/2021 hearing regarding Mr. Gay’s motion (Doc. 77) to represent

himself and Attorney Charles Schierer’s motion (Doc. 88) to withdraw as attorney, the Court

allowed Mr. Gay’s civil attorney, Sarah Grady, to speak on the issue of representation and

whether her firm might be willing to represent Mr. Gay in this criminal case. Attorney Grady

declined to represent Mr. Gay here but indicated her belief that Mr. Gay should be appointed

another attorney because her relationship with Mr. Gay demonstrates he has an ability to work

with attorneys. This statement was made in response to the fact that Mr. Gay had requested the

firing of 6 previous lawyers in this criminal case. However, Attorney Grady did not provide the

Court with the details of Mr. Gay’s mental health conditions, which are directly related to his

ability to represent himself.

        The Court has, on its own, found information stating that Mr. Gay has serious mental

health conditions, based on representations by his attorneys in his civil case, Gay v. Baldwin et



1
 Based on the Court’s review of the attorneys of record. These attorneys represent Mr. Gay in Gay v. Baldwin et al.,
no. 1:19-cv-01133-HAB-EIL (C.D. Ill.), which is pending in front of Judge Harold A. Baker.

                                                         1
                         4:20-cr-40026-JES-JEH # 105           Page 2 of 4




al., no. 1:19-cv-01133-HAB-EIL (C.D. Ill.), and Mr. Gay’s handwritten representations in

another civil case, Gay v. Keys et al., no. 4:20-cv-04250-SLD (C.D. Ill.), where he is litigating

pro se. This new information gives the Court great concern as to whether Mr. Gay can adequately

represent himself in this criminal case. At the same time, it also gives the Court great

apprehension to have Mr. Gay taken into custody for the purposes of conducting a psychiatric or

psychological examination to determine his competency as required by statute. See 18 U.S.C. §

4241(a), (b) (granting a court sua sponte authority to order a competency evaluation and a

psychiatric or psychological examination of the defendant); 18 U.S.C. § 4247(b), (c) (detailing

the preparation of psychiatric and psychological examinations and reports ordered pursuant to §

4241).

         The Court has found the following statements discussing Mr. Gay’s mental health

conditions in the allegations of his complaint in Gay v. Baldwin et al., Doc. 82:

         “Anthony suffers from borderline personality disorder. After he was imprisoned the
         symptoms of this mental illness manifested, and he began to act out. Instead of
         providing treatment for his mental illness, the IDOC cited him for a variety of
         violations. Eventually, in 1996, the IDOC placed Anthony in solitary
         confinement—and it kept him there for over twenty years. For more than twenty
         years, Anthony lived alone in a small, bare, stifling cell, where he was deprived of
         all human contact for close to 24 hours per day. The impact of solitary confinement
         on Anthony was catastrophic. Deprived of any sustained human interaction,
         Anthony’s mental condition deteriorated, and he began to engage in horrific acts of
         self-mutilation.”

         “His documented acts of self-mutilation number in the dozens . . . All told, Anthony
         spent nearly two decades in solitary confinement in a state of acute mental
         decompensation. By the time he was finally released from prison in 2018, he had
         mutilated himself hundreds of times.”

         “Due to his mental illnesses, Anthony had a mental impairment that substantially
         limited one or more major life activities, including but not limited to thinking,
         interacting with others, and controlling his behavior. As a result of his mental
         disabilities, he required intensive inpatient psychiatric therapy.”




                                                  2
                        4:20-cr-40026-JES-JEH # 105            Page 3 of 4




       “This extreme isolation continued even though in Rasho v. Baldwin, No. 07-cv-
       1298 (C.D. Ill.), an ongoing class action concerning the IDOC’s treatment of
       mentally ill prisoners, the Defendants acknowledged that Anthony was among a
       handful of IDOC prisoners who were so mentally ill that they needed acute,
       inpatient psychiatric care.”

       “[The defendants’] ‘solution’ inflicted decades of unthinkable pain on Anthony, and
       continues to harm him after his release . . . The Defendants knew that Anthony’s
       serious medical needs were not being treated within IDOC’s facilities, and that the
       isolation of solitary confinement would exacerbate his condition and cause him
       further damage over time.”

       In Gay v. Keys et al., 4:20-cv-04250-SLD (C.D. Ill.), Mr. Gay also discusses how his

mental health conditions have affected his life. He states that he suffers from PTSD and a fear of

authority figures because he was “tortured in solitary confinement for 20 years or so.” Doc. 1, at

1. He discusses how his interaction with police put him in a state where he was distressed and

needed a mental health professional. Id. at 3-4. Likewise, in Mr. Gay’s recent Motion (Doc. 99)

in his criminal case here, he indicates that due to his experience in solitary confinement for 22

years without the benefit of learning new technologies, it is nearly impossible for him to use the

“flat drive” the Government has provided to him.

       With these admissions in mind discussing Mr. Gay’s serious mental health conditions, the

lasting effects of his lengthy solitary confinement, and the potential need for in-patient treatment,

the Court has concerns regarding Mr. Gay’s ability to represent himself and whether these

conditions affect him presently. A trial court may require a defendant to proceed to trial with

counsel where the defendant is deemed competent to go to trial, but nonetheless lacks the mental

capacity to represent himself. Indiana v. Edwards, 554 U.S. 164, 178 (2008) (discussing federal

pro se felony defendants that have been ordered to undergo competency evaluations). See also

United States v. Hunter, 714 F. App’x 582, 585 (7th Cir. 2017) (holding a trial court may

override a defendant’s decision to proceed pro se if the defendant suffers from mental illness



                                                 3
                          4:20-cr-40026-JES-JEH # 105         Page 4 of 4




severe enough to render him incompetent to represent himself); United States v. Berry, 565 F.3d

385, 390 (7th Cir. 2009) (same). A court can order a competency evaluation on its own “if there

is reasonable cause to believe that the defendant may presently be suffering from a mental

disease or defect rendering him mentally incompetent to the extent that he is unable to

understand the nature and consequences of the proceedings against him or to assist properly in

his defense.” 18 U.S.C. § 4241(a). Therefore, pursuant to 18 U.S.C. § 4241 and 18 U.S.C. §

4247, the Court sets this case for an in-person hearing on Monday, 9/20/2021 at 9:00 AM in

Courtroom A in Peoria before Judge James E. Shadid to discuss ordering a psychiatric or

psychological examination for Mr. Gay and to discuss Mr. Gay’s competency to stand trial and

his ability represent himself in this criminal case. Pursuant to 18 U.S.C. § 4247(d), the Court

further re-appoints Attorney Charles Schierer at this time for the limited purpose of representing

Mr. Gay at the hearing.

       The Clerk’s Office is directed to send a copy of this Order to Mr. Gay via certified and

regular mail.



                Signed on this 10th day of September 2021.

                                              s/James E. Shadid
                                              James E. Shadid
                                              United States District Judge




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